                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

 In re: Madison Chiropractic & Nutrition           )         Case No.: 18-82075-CRJ-11
        Center, LLC                                )
        EIN: xx-xxx0856                            )
                                                   )
               Debtor.                             )         CHAPTER 11
                                                   )




                                DEBTOR’S FIRST AMENDED
                                PLAN OF REORGANIZATION




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 Dated: February 27, 2019




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 In re: Madison Chiropractic & Nutrition                )         Case No.: 18-82075-CRJ-11
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                                                        )
                 Debtor.                                )         CHAPTER 11
                                                        )

                 DEBTOR’S FIRST AMENDED PLAN OF REORGANIZATION

         Madison Chiropractic & Nutrition Center, LLC (the "Debtor"), as Debtor and Debtor-in-
 Possession, proposes this Amended Plan of Reorganization (the "Plan") pursuant to Section 1121(a) of
 Title 11 of the United States Code for the resolution of the Debtor’s outstanding creditor claims and
 equity interests. Reference is made to the Debtor’s Disclosure Statement (the "Disclosure Statement")
 for a discussion of the Debtor’s history, business, properties and results of operations, and for a
 summary of this Plan and certain related matters.

         All holders of Claims and Interests are encouraged to read the Plan and the Disclosure
 Statement in their entirety before voting to accept or reject this Plan. No materials, other than the
 Disclosure Statement and any exhibits and schedules attached thereto or referenced therein, have been
 approved by the Debtor for use in soliciting acceptances or rejections of this Plan.

                                              ARTICLE 1
                                             DEFINITIONS

         As used herein, the following terms have the respective meanings specified below, and such
 meanings shall be equally applicable to both the singular and plural, and masculine and feminine, forms
 of the terms defined. The words "herein," "hereof," "hereto," "hereunder" and others of similar
 import, refer to the Plan as a whole and not to any particular section, subsection or clause contained in
 the Plan. Captions and headings to articles, sections and exhibits are inserted for convenience of
 reference only and are not intended to be part of or to affect the interpretation of the Plan. The rules of
 construction set forth in Section 102 of the Bankruptcy Code shall apply. In computing any period of
 time prescribed or allowed by the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply. Any
 capitalized term used but not defined herein shall have the meaning ascribed to such term in the
 Bankruptcy Code. In addition to such other terms as are defined in other sections of the Plan, the
 following capitalized terms have the following meanings when used in the Plan.



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         1.1     "Administrative Claim" means a Claim for costs and expenses of administration
 allowed under Section 503(b) of the Bankruptcy Code and referred to in Section 507(a)(1) of the
 Bankruptcy Code.

         1.2     "Allowed Claim" means a Claim that is (a) not a Disputed Claim or (b) a Claim that has
 been allowed by a Final Order.

         1.3     "Ballots" means the written Ballots for acceptance or rejection of the Plan.

         1.4     "Bankruptcy Code" or "Code" means Title 11 of the United States Code as now in
 effect or hereafter amended.

         1.5     "Bankruptcy Court" means the United States Bankruptcy Court for the Northern
 District of Alabama, Northern Division, which presides over this proceeding, or if necessary, the
 United States District Court for said District having original jurisdiction over this case.

         1.6     "Bankruptcy Rules" means, collectively (a) the Federal Rules of Bankruptcy Procedure,
 and (b) the local rules of the Bankruptcy Court, as applicable from time to time in the Reorganization
 Case.

         1.7     "Business Day" means any day, other than a Saturday, Sunday or "legal holiday" (as
 defined in Bankruptcy Rule 9006(a)).

         1.8     "Cash" means cash, wire transfer, certified check, cash equivalents and other readily
 marketable securities or instruments, including, without limitation, readily marketable direct
 obligations of the United States of America, certificates of deposit issued by banks, and commercial
 paper of any Person, including interests accrued or earned thereon, or a check from the Debtor.

         1.9     "Claim" means any right to payment from the Debtor arising before the Confirmation
 Date, whether or not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent,
 matured, unmatured, contested, uncontested, legal, equitable, secured, or unsecured; or any right to
 an equitable remedy for breach of performance if such breach gives rise to a right of payment from the
 Debtor prior to the Confirmation Date, whether or not such right to an equitable remedy is reduced to
 judgment, fixed, contingent, matured, unmatured, contested, uncontested, secured or unsecured.

         1.10    "Class" means one of the classes of Claims or Interests defined in Article III hereof.

         1.11    "Confirmation" means the entry of a Confirmation Order confirming this Plan at or
 after a hearing pursuant to Section 1129 of the Bankruptcy Code.



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         1.12    "Confirmation Date" means the date the Confirmation Order is entered on the docket
 of the Bankruptcy Court.

         1.13    "Confirmation Order" means the order entered by the Bankruptcy Court confirming
 the Plan pursuant to Section 1129 of the Bankruptcy Code.

         1.14    "Debtor" means Madison Chiropractic and Nutrition Center, LLC.

         1.15    "Disclosure Statement" means the Disclosure Statement filed by the Debtor as
 approved by the Bankruptcy Court for submission to the Creditors, interest holders, and parties-in-
 interest of the Debtor, as it may have been amended or supplemented from time to time.

         1.16    "Disputed Claim" means a Claim as to which a proof of claim has been Filed or deemed
 Filed under applicable law, as to which an objection has been or may be timely Filed and which
 objection, if timely Filed, has not been withdrawn on or before any date fixed for Filing such objections
 by the Plan or Order of the Bankruptcy Court and has not been overruled or denied by a Final Order.
 Prior to the time that an objection has been or may be timely Filed, for the purposes of this Plan, a
 Claim shall be considered a Disputed Claim to the extent that: (i) the amount of the Claim specified in
 the proof of claim exceeds the amount of any corresponding Claim listed by the Debtor in their
 respective Schedules to the extent of such excess; (ii) any corresponding Claim listed by the Debtor in
 their respective Schedules has been scheduled as disputed, contingent, or unliquidated, irrespective of
 the amount scheduled; or (iii) no corresponding Claim has been listed by the Debtor in the respective
 Schedules. Disputed Claims also includes Claims subject to a pending action for equitable
 subordination of such Claims.

         1.17    “Distributions" means the properties or interests in property to be paid or distributed
 hereunder to the holders of Allowed Claims.
         1.18    “Docket" means the docket in the Reorganization Case maintained by the Clerk.

         1.19    "Effective Date" means (1) the twentieth (20th) business day after an Order confirming
 this Plan becomes final and no longer open for appeal, stay or reconsideration in accordance with the
 Federal Rules of Bankruptcy Procedure and/or the Federal Rules of Appellate Procedure; or (2) the
 first business day of the next calendar month, whichever is later.

         1.20    "Estate" means the estate created in this Reorganization Case under Section 541 of the
 Bankruptcy Code.




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        1.21    "Executory Contract" means any unexpired lease and/or executory contract as set forth
 in Section 365 of the Code.
        1.22    "File" or "Filed" means filed with the Bankruptcy Court in the Reorganization Case.
        1.23    "Final Order" means an order or judgment of the Bankruptcy Court, or other court of
 competent jurisdiction, as entered on the Docket in the Reorganization Case, which has not been
 reversed, stayed, modified or amended.

        1.24    "Impaired" as to a Class means the Plan alters the legal, equitable or contractual rights
 of a Claim or Interest holder within the meaning of 11 U.S.C. § 1124.

        1.25    "Order" means an order or judgment of the Bankruptcy Court as entered on the
 Docket.

        1.26    "Person" means any individual, corporation, general partnership, limited partnership,
 association, joint stock company, joint venture, estate, trust, indenture trustee, government or any
 political subdivision, governmental unit (as defined in the Bankruptcy Code).

        1.27    "Petition Date" means July 13, 2018, the date on which Debtor filed the voluntary
 Chapter 11 petition.

        1.28    "Plan" means this Plan of Reorganization in its present form, or as it may be amended,
 modified, and/or supplemented from time to time in accordance with the Bankruptcy Code, or by
 agreement of all affected parties, or by order of the Bankruptcy Court, as the case may be.

        1.29    "Pre-Petition Tax Claim" means a Tax Claim that arises prior to the Petition Date.

        1.30    "Priority Claim" means all Claims entitled to priority under 11 U.S.C. §§ 507(a) of the
 Bankruptcy Code, other than an Administrative Claim or a Tax Claim.

        1.31    "Pro Rata" means proportionately, based on the percentage of the distribution made on
 account of a particular Allowed Claim bears to the distributions made on account of all Allowed Claims
 of the Class in which the Allowed Claim is included.

        1.32    "Rejection Claim" means a Claim resulting from the rejection of a lease or executory
 contract by the Debtor.

        1.33    "Reorganization Case" means, collectively, the Debtor’s case under Chapter 11 of the
 Bankruptcy Code that was commenced on the Petition Date.




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         1.34     "Schedules" means the Schedules of Assets and Liabilities, Statement of Financial
 Affairs and Statement of Executory Contracts that may be filed by the Debtor with the Bankruptcy
 Court, as amended or supplemented on or before the Confirmation Date, listing the liabilities and assets
 of the Debtor.

         1.35     "Secured Claim" means any Claim that is secured by a lien on property in which the
 Estate has an interest or that is subject to setoff under Section 553 of the Bankruptcy Code, to the extent
 of the value of the Claim holder's interest in the Estate’s interest in such property or to the extent of
 the amount subject to setoff, as applicable, as determined pursuant to Section 506(a) of the Bankruptcy
 Code.

         1.36     "Security Agreement" means the documentation under which a lien against property is
 reflected.

         1.37     "Tax Claim" means either (a) an Unsecured Allowed Claim of a governmental entity
 as provided by Section 507(a)(8) of the Code, or (b) an Allowed Claim of a governmental entity secured
 by a lien on property of the Debtor under applicable state law.

         1.38     "Unsecured Claim" means any Claim that is not an Administrative Claim, Priority
 Claim, Pre-Petition Tax Claim or Secured Claim.


                                        ARTICLE 2
                                      TREATMENT OF
                              ADMINISTRATIVE EXPENSE CLAIMS
                                AND PRIORITY TAX CLAIMS.
         2.1    Administrative Expense Claims.

         Except to the extent that a holder of an Allowed Administrative Expense Claim has been paid
 by a Debtor prior to the Effective Date or agrees to less favorable treatment, each holder of an Allowed
 Administrative Expense Claim shall receive Cash from the Debtor obligated for the payment of such
 Allowed Administrative Expense Claim in an amount equal to the Allowed amount of such
 Administrative Expense Claim on the later of the Effective Date and the date such Administrative
 Expense Claim becomes an Allowed Administrative Expense Claim, or as soon thereafter as is
 practicable; provided, however, that Allowed Administrative Expense Claims representing liabilities
 incurred in the ordinary course of business by a Debtor or other obligations incurred by such Debtor
 shall be paid in full and performed by such Debtor in the ordinary course of business in accordance with




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 the terms and subject to the conditions of any agreements governing, instruments evidencing, or other
 documents relating to such transactions.

         2.2   Professional Compensation and Reimbursement Claims.

         Other than a professional retained by the Debtor pursuant to the Ordinary Course Professional
 Order, any entity seeking an award of the Bankruptcy Court of compensation for services rendered
 and/or reimbursement of expenses incurred on behalf of the Debtor and the Creditors’ Committee
 through and including the Effective Date under Section 105(a), 363(b), 503(b)(2), 503(b)(3), 503(b)(4)
 or 503(b)(5) of the Bankruptcy Code shall (a) file its final application for allowance of such
 compensation and/or reimbursement by no later than the date that is 120 days after the Effective Date
 or such other date as may be fixed by the Bankruptcy Court, and (b) be paid by or on behalf of the
 Debtor in full and in Cash in the amounts Allowed upon (i) the date the order granting such award
 becomes a Final Order, or as soon thereafter as practicable, or (ii) such other terms as may be mutually
 agreed upon by the claimant and the Debtor obligated for the payment of such Allowed Claim. The
 Debtor is authorized to pay compensation for professional services rendered and reimburse expenses
 incurred on behalf of the Debtor and the Creditors’ Committee after the Effective Date in the ordinary
 course and without Bankruptcy Court approval.

         2.3     Priority Tax Claims.

         Except to the extent that a holder of an Allowed Priority Tax Claim has been paid prior to the
 Effective Date or agrees to less favorable treatment, each holder of an Allowed Priority Tax Claim shall
 receive from one or more of the Debtor(s) obligated for the payment of such Allowed Priority Tax
 Claim, and at the sole option of such Debtor(s), (i) Cash in an amount equal to the Allowed amount of
 such Priority Tax Claim on the later of the Effective Date and the date such Priority Tax Claim becomes
 an Allowed Priority Tax Claim, or as soon thereafter as is practicable, or (ii) equal Cash payments to
 be made initially on the Effective Date or as soon thereafter as practicable and monthly thereafter in an
 aggregate amount equal to such Allowed Priority Tax Claim, together with interest at a fixed annual
 rate, over a period from the Effective Date through the fifth (5th) anniversary after the Commencement
 Date; provided, however, that such election shall be without prejudice to the Debtor’s right to prepay
 such Allowed Priority Tax Claim in full or in part without penalty.




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                                            ARTICLE 3
                                         DESIGNATION OF
                                      CLAIMS AND INTERESTS

                 3.1     The following is a designation of the classes of Claims and Interests under this
 Plan. In accordance with Section 1123(a)(1) of the Bankruptcy Code, Claims that are not impaired have
 been noted and will not vote on the Plan. A Claim or Interest is classified in a particular class only to
 the extent that the Claim or Interest qualifies within the description of that class, and is classified in
 another class or classes to the extent that any remainder of the Claim or Interest qualifies within the
 description of such other class or classes. A Claim or Interest is classified in a particular class only to
 the extent that the Claim or Interest is an Allowed Claim or Allowed Interest in that class and has not
 been paid, released or otherwise satisfied before the Effective Date; a Claim or Interest which is not an
 Allowed Claim or Interest is not in any Class. Notwithstanding anything to the contrary contained in
 this Plan, no distribution shall be made on account of any Claim or Interest that is not an Allowed
 Claim.


            Class              Impairment       Treatment


                                                The creditor in this class will be paid in full their
                                                approved claim amount over the course of a 60-month
                                                term with interest accruing at the rate of 5.00%, with a
          Class 1 –             Claim # 3
                                                standard amortization schedule for the term. Except as
      Secured Claim            ($1,100.39)
                                                otherwise provided, this creditor will retain all security
          ADOR                  Impaired
                                                interests in any collateral. New payments will begin on
                                                the Effective Date. (Estimated monthly payment of
                                                $20.77).


                               Claims # 1
          Class 2 –         ($85,279.80), #2    The creditors in this class will be paid in full their
   Unsecured Priority        ($104.89), and     approved claim amount over the course of a 60-month
       Tax Claims            #4 ($7,400.12)     term with interest accruing at the rate of 5.00%, with a
      ADOR & IRS             Impaired; Not      standard amortization schedule for the term. New
                            Entitled to Vote    payments will begin on the Effective Date. (Estimated




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                                            monthly payment of $1,609.34 to IRS and $141.63 to
                                            ADOR).




        Class 3 –           Claims # 5
                                            The creditors in this class will be paid in full their
      De Minimis         ($745.44) and #6
                                            approved claim amount, without interest, within 60
   Unsecured Priority       ($298.38)
                                            days of the effective date.
        Claims            Impaired; Not
                         Entitled to Vote


                                            Beginning on the Effective Date, Debtor will begin
                                            making monthly payments of $100.00, split on a pro-
                                            rata basis between all creditors in this Class on their
                                            approved claim amounts, until the sum of 10% of the
                            Claims # 1
                                            total allowed claims in this class are paid. Thereafter,
                         ($20,213.84), #2
                                            any remaining balance on the claims in this Class will be
        Class 4 –        ($65.00), and #4
                                            forever discharged. Payments to creditors in this class
   General Unsecured        ($219.91),
                                            are estimated to last for a term of 21 months (Total
        Claims               Impaired
                                            estimated class payment to IRS = $2,021.38; total
                                            estimated class payment to ADOR = $28.49).
                                            (Estimated monthly payment of $98.61 to IRS and
                                            $1.39 to ADOR).




                                            Equity interest holders will retain their membership
        Class 5 –
                                            interests in Debtor and, in order to comply with the new
   Interests of Equity      Impaired;
                                            value exception to the absolute priority rule, will
   Interest Holders in    Not Entitled to
                                            contribute the sum of $1,000.00 to the Debtor entity by
        Debtor                 Vote
                                            or before the Plan’s Effective Date.




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 Note: Provided that all Claims will have been paid to the extent provided for in this Plan, the Debtor
 will retain all Assets, subject to all remaining perfected encumbrances, as well as any remainder of the
 Estate not otherwise liquidated.

         Monthly Estimated Payments by Creditor

                 ADOR:           $163.79 (for months 1-21)

                                 $162.40 (for months 22-60)

                 IRS:            $1,707.95 (for months 1-21)

                                 $1,609.34 (for months 22-60)

         De Minimis Single Payments

                 Lynda Hall:     $745.44

                 ADOL: $298.38

                                          ARTICLE 4
                               CLASSIFICATION AND TREATMENT
                                  OF CLAIMS AND INTERESTS

         Class 1 – Secured Claim

                 a.      Classification:

         Class 1 consists of the secured claim of the Alabama Department of Revenue

                 b.      Treatment:

         Class 1 is impaired and, accordingly, the member of Class 1 is entitled to vote on the Plan.

         The creditor in this class will be paid in full their approved claim amount over the course of a
 60-month term with interest accruing at the rate of 5.00%, with a standard amortization schedule for
 the term. Except as otherwise provided, this creditor will retain all security interests in any collateral.
 New payments will begin on the Effective Date. Upon full payment of the allowed claims in this class,
 the claimant’s secured interest in the Debtor’s property will be immediately discharged. The creditor
 in this class will immediately release all liens, certificates of judgments, or any other claims to the
 Debtor’s property. (Estimated monthly payment of $20.77).




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         Class 2 –Priority Unsecured Tax Claims

         a.      Classification:

         Class 2 consists of the priority unsecured tax claims. The members of this class are not entitled
 to vote on the Plan.

         b.      Treatment:

         The creditors in this class will be paid in full their approved claim amount over the course of a
 60-month term with interest accruing at the rate of 5.00%. Payments will be amortized on a standard
 schedule for the term. New payments will begin on the Effective Date. (Estimated monthly payment
 of $1,609.34 to IRS and $141.63 to ADOR).

         Class 3 – De Minimis Priority Unsecured Claims

         a.      Classification:

         Class 3 consists of the de minimis priority unsecured claims. The members of this class are not
 entitled to vote on the Plan.

         b.      Treatment:

         The creditors in this class will be paid in full their approved claim amounts, without interest,
 within 60 days of the effective date. (Estimated single payment of $745.44 to Lynda Hall and
 $298.39 to ADOL).

         Class 4 – General Unsecured Claims

                 a.      Classification:

         Class 4 consists of all non-priority, unsecured claims not addressed in the previous classes
 described above. Class 4 is impaired and, accordingly, the members of Class 4 are entitled to vote on
 the Plan.

                 b.      Treatment:

         Class 4 is impaired and, accordingly, the holders of Allowed Claims in this class are entitled to
 vote on the Plan. As of the claims bar date, this Class consists of the following claimants:

         IRS                               $ 20,213.84

         ADOR                              $   284.91


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         Beginning on the Effective Date, Debtor will begin making monthly payments of $100.00,
 split on a pro-rata basis between all creditors in this class, until the sum of 10% of the total allowed
 claims in this Class are paid. Thereafter, any remaining balance on the claims in this Class will be
 forever discharged and the Debtor will have no obligation to make any further payments. Payments to
 creditors in this class are estimated to last for a term of 21 months.

         Each holder of an allowed claim in this Class will retain all remedies until the Debtor completes
 its required payments to that creditor under the terms of the confirmed Plan. (Estimated monthly
 payment of $98.61 to IRS and $1.39 to ADOR).

         Class 5 – Interests of Equity Interest Holders in Debtor

                 a.      Classification:

         Class 4 is impaired but the members of this class are insiders of the Debtor who are not entitled
 to vote on the Plan.

                 b.      Treatment:

         Equity interest holders will retain their membership interests in the Debtor and, in order to
 comply with the new value exception to the absolute priority rule, will contribute the sum of $1,000.00
 to the Debtor entity by the Plan’s Effective Date.


                                     ARTICLE 5
                          ACCEPTANCE OR REJECTION OF THE PLAN

         5.1      The holders of Claims in all impaired Classes entitled to vote and listed above may vote
 to accept or reject the Plan.


                                        ARTICLE 6
                                 MEANS FOR EXECUTION AND
                                IMPLEMENTATION OF THE PLAN

         6.1     Funding of the Distribution. On the Effective Date, the Debtor shall first fund
 payments to the holders of Allowed Administrative Claims.

         6.2     Authorization to Take Necessary and Appropriate Actions to Effectuate Plan. On the
 Effective Date, the Debtor shall be authorized and directed to take all necessary and appropriate actions
 to effectuate the transactions contemplated by the Plan and Disclosure Statement.




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         6.3     Preservation of Rights of Action. Except as otherwise provided in the Plan, or in any
 contract, instrument, release, or other agreement entered into in connection with the Plan in
 accordance with Section 1123(b) of the Bankruptcy Code, the Debtor shall retain and may enforce any
 claims, rights and causes of action that the Debtor or the Estates may hold against any entity, including,
 without limitation, any claims, rights or causes of action arising under Sections 544 through 551 or other
 sections of the Bankruptcy Code or any similar provisions of state law, or any other statute or legal
 theory. The Debtor or any successor to or designee thereof may pursue those rights of action, as
 appropriate, in accordance with what is in the best interests of the Debtor.

         6.4     Except as otherwise provided for with respect to applications of professionals for
 compensation and reimbursement of expenses under Article 3 of the Plan, or as otherwise ordered by
 the Bankruptcy Court after notice and a hearing, objections by any party other than the Debtor to filed
 Claims shall be Filed and served upon the holder of such Claim or Administrative Claim not later than
 the Effective Date, unless this period is extended by the Court. Such extension may occur ex parte.
 After the Effective Date, only the Debtor shall have the exclusive right to object to Claims.


                                     ARTICLE 7
                     FUNDING AND METHODS OF DISTRIBUTION AND
                   PROVISIONS FOR TREATMENT OF DISPUTED CLAIMS

         7.1     The Debtor’s normal cash flow shall be the primary source of funds for the payments
 to creditors authorized by the U.S. Bankruptcy Court’s confirmation of this Plan. The Debtor reserves
 the right to sell collateral for the purpose of providing some funding for the Plan as the Debtor deems
 necessary. Any funds that the debtor receives as “new value” under 11 U.S.C. § 1129 shall also be
 applied to the Plan payments to creditors.

         7.2     Cash Distributions. All Cash distributions made pursuant to the Plan shall be made by
 the Debtor from the Chapter 11 estate. Any such payments may be made either by check or wire
 transfer, at the option of the payor.

         7.3     Distribution Procedures. Except as otherwise provided in the Plan, all distributions of
 Cash and other property shall be made by the Debtor on the later of the Effective Date or the date on
 which such Claim is Allowed, or as soon thereafter as practicable. Distributions required to be made
 on a particular date shall be deemed to have been made on such date if actually made on such date or
 as soon thereafter as practicable. No payments or other distributions of property shall be made on
 account of any Claim or portion thereof unless and until such Claim or portion thereof is allowed.



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         7.4     Distributions to Holders of Allowed Administrative Expense Claims. Commencing on
 the Effective Date, the Debtor shall, in accordance with Article 3 of the Plan, distribute to each holder
 of a then unpaid Allowed Administrative Expense Claim in the Allowed amount of such holder's Claim
 if and to the extent that the balance, if any, of such Claims is Allowed by Final Order. The Debtor shall
 not tender a payment to the holders of Allowed Administrative Expense Claims until all Disputed
 Claims that are alleged to be Administrative Claims have been allowed or disallowed.

         7.5     Disputed Claims. Notwithstanding any other provisions of the Plan, no payments or
 distributions shall be made on account of any Disputed Claim until such Claim becomes an Allowed
 Claim, and then only to the extent that it becomes an Allowed Claim.

         7.6     Delivery of Distributions and Undeliverable or Unclaimed Distributions.

                 (a)       Delivery of Distributions in General.

         Distributions to holders of Allowed Claims shall be distributed by mail as follows: (1) at the
 addresses set forth on the respective proofs of claim filed by such holders; (2) at the addresses set forth
 in any written notices of address changes delivered to the Debtor after the date of any related proof of
 claim; or (3) at the address reflected on the Schedule of Assets and Liabilities filed by the Debtor if no
 proof of claim or proof of interest is Filed and the Debtor has not received a written notice of a change
 of address.

                 (b)       Undeliverable Distributions.

                           (i) Holding and Investment of Undeliverable Property. If the distribution to the
         holder of any Claim is returned to the Debtor as undeliverable, no further distribution shall be
         made to such holder unless and until the Debtor is notified in writing of such holder's then
         current address. Unclaimed Cash shall be held in trust in a segregated bank account in the name
         of the Debtor, for the benefit of the potential claimants of such funds, and shall be accounted
         for separately.

                           (ii) Distribution of Undeliverable Property After it Becomes Deliverable and
         Failure to Claim Undeliverable Property. Any holder of an Allowed Claim who does not assert
         a claim for an undeliverable distribution held by the Debtor within two years after the Effective
         Date shall no longer have any claim to or interest in such undeliverable distribution, and shall
         be forever barred from receiving any distributions under this Plan. In such cases, any cash or
         securities held for distribution on account of such Claims shall become property of the Debtor.



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         7.7     Failure to Negotiate Checks. Checks issued in respect of distributions to holders of
 Allowed Claims under the Plan shall be null and void if not negotiated within sixty (60) days after the
 date of issuance. The Debtor shall hold any amounts returned to the Debtor in respect of such checks.
 Requests for reissuance of any such check may be made directly to the Debtor by the holder of the
 Allowed Claim with respect to which such check originally was issued. Any claim in respect of such
 voided check is required to be made within six months of the original issuance date of the check.
 Thereafter, all amounts represented by any voided check shall become unrestricted funds of the
 Debtor. All Claims in respect of void checks and the underlying distributions shall be discharged and
 forever barred from an assertion against the Debtor and its property.

         7.8     Compliance with Tax Requirements. In connection with the Plan, to the extent
 applicable, the Debtor shall comply with all withholding and reporting requirements imposed on them
 by any governmental unit, and all distributions pursuant to the Plan shall be subject to such withholding
 and reporting requirements.

          7.9    Setoffs. Unless otherwise provided in a Final Order or in this Plan, the Debtor may, but
 shall not be required to, set off against any Claim and the payments to be made pursuant to the Plan in
 respect of such Claim, any claims of any nature whatsoever the Debtor may have against the holder
 thereof or its predecessor, but neither the failure to do so nor the allowance of any Claim hereunder
 shall constitute a waiver or release by the Debtor of any such Claims the Debtor may have against such
 holder or its predecessor.


                                     ARTICLE 8
                         TREATMENT OF EXECUTORY CONTRACTS
                               AND UNEXPIRED LEASES

         8.1     Rejection of All Executory Contracts and Leases Not Assumed. The Plan constitutes
 and incorporates a motion by the Debtor to reject, as of the Effective Date, all pre-petition executory
 contracts and unexpired leases to which the Debtor are parties, except for any executory contract or
 unexpired lease that (i) has been assumed or rejected pursuant to a Final Order, or (ii) is the subject of
 a pending motion for authority to assume the contract or lease Filed by the Debtor prior to the
 Confirmation Date. The Plan establishes a bar date for filing Rejection Claims not already barred.

         8.2     Bar Date for Filing of Rejection Claims. Any Claim for damages arising from the
 rejection under this Plan of an executory contract or unexpired lease that was not subject to an earlier
 bar date must be Filed within thirty (30) days after the mailing of notice of Confirmation or be forever



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 barred and unenforceable against the Debtor, the Estates, any of their affiliates and their properties
 and barred from receiving any distribution under this Plan.


                                          ARTICLE 9
                                EFFECTS OF PLAN CONFIRMATION

         9.1     No Liability for Solicitation or Participation. As specified in section 1125(e) of the
 Bankruptcy Code, Persons that solicit acceptances or rejections of the Plan and/or that participate in
 the offer, issuance, sale, or purchase of securities offered or sold under the Plan, in good faith and in
 compliance with the applicable provisions of the Bankruptcy Code, are not liable, on account of such
 solicitation or participation, for violation of any applicable law, rule, or regulation governing the
 solicitation of acceptances or rejections of the Plan or the offer, issuance, sale, or purchase of securities.

         9.2     Limitation of Liability. Neither the Debtor and any professional Persons retained by
 them; any of their affiliates nor any of their officers, directors, partners, associates, employees,
 members or agents (collectively the "Exculpated Persons"), shall have or incur any liability to any
 Person for any act taken or omission made in good faith in connection with or related to the Bankruptcy
 Case or actions taken therein, including negotiating, formulating, implementing, confirming or
 consummating the Plan, the Disclosure Statement, or any contract, instrument, or other agreement or
 document created in connection with the Plan. The Exculpated Persons shall have no liability to any
 Creditors or Equity Security Holders for actions taken under the Plan, in connection therewith or with
 respect thereto in good faith, including, without limitation, failure to obtain Confirmation of the Plan
 or to satisfy any condition or conditions, or refusal to waive any condition or conditions, precedent to
 Confirmation or to the occurrence of the Effective Date. Further, the Exculpated Persons will not have
 or incur any liability to any holder of a Claim, holder of an Interest, or party-in-interest herein or any
 other Person for any act or omission in connection with or arising out of their administration of the Plan
 or the property to be distributed under the Plan, except for gross negligence or willful misconduct as
 finally determined by the Bankruptcy Court, and in all respects such persons will be entitled to rely
 upon the advice of counsel with respect to their duties and responsibilities under the Plan.

         9.3     Other Documents and Actions. The Debtor as Debtor-In-Possession may execute such
 documents and take such other action as is necessary to effectuate the transactions provided for in the
 Plan.




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         9.4     Unless otherwise provided, all injunctions or stays provided for in the Reorganization
 Case pursuant to Sections 105 or 362 of the Bankruptcy Code or otherwise and in effect on the
 Confirmation Date shall remain in full force and effect until the Effective Date.

         So long as the Debtor’s Chapter 11 case is not dismissed, the protections afforded it by 11
 U.S.C. § 362 will remain in full effect to stay all collection actions of any pre-petition debts, claims,
 liens, or other related occurrences against the Debtor, the bankruptcy estate, or property of the
 bankruptcy estate for the pendency of its Chapter 11 Plan.

         9.6.    Stay on Governmental Units from Engaging in any Collection Action Against any
 Responsible Persons During the Pendency of the Plan. Unless otherwise provided, all Governmental
 Units, as defined by the Bankruptcy Code, are stayed from engaging in any collection action of any
 nature against any employee, owner, manager, director, or principal of the Debtor relating to or arising
 from a tax liability of the Debtor which is concurrently or jointly assessed against any employee, owner,
 manager, director, or principal of the Debtor.

         This section applies to any non-debtors deemed a “responsible person” and assessed the Trust
 Fund Recovery Penalty from a tax due arising from or due and owed by the Debtor in the ordinary
 course of operating its business. All Governmental Units must first look to the Debtor for satisfaction
 of any such tax debts and then may only take collection action against any responsible person if the
 Debtor’s Chapter 11 case has been dismissed by the Bankruptcy Court, the Debtor’s Plan fails to
 provider for satisfaction of the amounts to which any non-debtor is jointly responsible, or the Debtor
 has failed to cure any Plan default to that Governmental Unit, as described in the section 9.8.

         9.7     Release of IRS lien recorded after the Petition Date. On July 16, 2018, three days after
 the Debtor filed its bankruptcy petition, the IRS records a tax lien with the Alabama Secretary of State’s
 Office, file number XX-XXXXXXX, in violation of the 11 U.S.C. § 362 Automatic Stay (the “Tax Lien”).
 Upon confirmation of this Plan, the Tax Lien will be null and void without further action by the Parties.
 The IRS will further take a steps reasonably necessary to release the Tax Lien or otherwise notify the
 Alabama Secretary of State’s Office that the Tax Lien is ineffective and void.

         9.8     Default and Opportunity to Cure.

         During the pendency of this Plan, should any party-in-interest aver that the Debtor has
 materially defaulted to any of its obligations under this Plan, such party must give written notice
 of the default to the Debtor and the Debtor’s Counsel listed below. The Debtor will have 21 days
 from receipt of the notice to cure any such default. If the Debtor fails to cure within this 21-day


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 deadline, the party giving notice of the default may proceed accordingly with any legal rights
 available under applicable law.


                                       ARTICLE 10
                          CONFIRMABILITY OF PLAN AND CRAMDOWN

         10.1      Confirmability. In order to confirm the Plan, the Bankruptcy Code requires that the
 Court make a series of findings concerning the Plan and the Debtor.

                   a.     Best Interests Test/Liquidation Analysis.

         Notwithstanding the acceptance of the Plan by each Impaired Class, Section 1129(a)(7) of the
 Bankruptcy Code requires that the Bankruptcy Court determine that the Plan is in the best interests of
 each holder of a Claim or Interest in an Impaired Class if any holder in that Class has voted against the
 Plan. Accordingly, if an Impaired Class under the Plan does not unanimously accept that Plan, the "best
 interests" test requires that the Bankruptcy Court find that the Plan provides to each member of such
 Impaired Class a recovery on account of the member's Claim or Interest that has a value, as of the
 Effective Date, that is not less than the value of the distribution that each such member would receive
 or retain if Debtor were liquidated under Chapter 7 of the Bankruptcy Code commencing on the
 Effective Date.
         To determine what members of each impaired Class of Claims would receive if the Debtor’s
 estate was liquidated under Chapter 7, the Court must consider the values that would be generated
 from a liquidation of the Debtor’s assets and properties in the context of a hypothetical liquidation
 under Chapter 7. From a review of the Debtor’s assets and liabilities, it is apparent that liquidation
 would not be a feasible solution to the repayment of these Debtor’s debts.
         There are no long-term accounts receivables or residuary contact rights. Accordingly, a
 Chapter 7 Trustee would need to liquidate the Debtor’s assets. It is highly likely that unsecured priority
 creditors would receive only partial satisfactions of their claims and general unsecured creditors would
 receive no distribution in a Chapter 7 liquidation of the Debtor’s estate.
         Thus, this Plan, which provides for the payment of secured and priority claims, retention of the
 Debtor’s property, and provides a distribution to general unsecured creditors, is a superior option to a
 Chapter 7 liquidation.

                   b.     Feasibility.

         Section 1129(a)(11) of the Bankruptcy Code requires a finding that Confirmation of the Plan is
 not likely to be followed by liquidation, or the need for further financial reorganization, of the Debtor


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 unless liquidation is expressly contemplated by the Plan. A review of the Debtor’s proposed Plan
 payments and disposable income establish that the Plan is feasible within the meaning of Section
 1129(a)(11) of the Bankruptcy Code.
         The details of this case strongly support the feasibility of the proposed Plan.

                 c.       Classification.

         Section 1122 of the Bankruptcy Code sets forth the requirements relating to classification of
 claims. Section 1122(a) provides that claims or interest may be placed in a particular class only if they
 are substantially similar to the other claims or interest in that class. The Debtor believes that all Classes
 under the Plan satisfy the requirements of Section 1122(a). The Debtor believes that the classification
 of Claims set forth in the Plan is appropriate in classifying substantially similar Claims together, and
 does not discriminate unfairly in the treatment of those Classes. The Debtor believes that the Plan
 adheres to the absolute priority rule and treats holders of Claims and Interests in accordance with their
 contractual entitlement and applicable law.
         10.2    Non-Consensual Confirmation.
         The Bankruptcy Code provides for confirmation of the Plan even if it is not accepted by all
 impaired Classes, as long as at least one impaired Class of Claims has accepted it (without counting the
 acceptances of insiders). These so-called "cramdown" provisions are set forth in Section 1129(b) of the
 Bankruptcy Code. The Plan may be confirmed under the cramdown provisions if, in addition to
 satisfying the other requirements of Section 1129 of the Bankruptcy Code, it (i) is "fair and equitable"
 and (ii) "does not discriminate unfairly" with respect to each Class of Claims or Interests that is
 impaired under, and has not accepted, such Plan.

         1.      Fair and Equitable Standard.

         With respect to a dissenting Class of unsecured creditors, the "fair and equitable" standard
 requires, among other things, that the Plan contain one of two elements. It must provide either that
 each unsecured creditor in the Class receive or retain property having a value, as of the Effective Date,
 equal to the Allowed amount of its Claim, or that no holder of Allowed Claims or Interests in any junior
 Class may receive or retain any property on account of such Claims or Interest. The strict requirements
 as to the allocation of full value to dissenting Classes before junior Classes can receive a distribution
 are known as the "absolute priority rule." In addition, the "fair and equitable" standard has also been
 interpreted to prohibit any class senior to a dissenting class from receiving under a plan more than one
 hundred percent (100%) of its Allowed Claims.



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         2.       The Plan Must Not Discriminate Unfairly.

         As a further condition to approving a cramdown, the Bankruptcy Court must find that the Plan
 does not "discriminate unfairly" in its treatment of dissenting Classes. A Plan of Reorganization does
 not "discriminate unfairly" if (a) the Plan does not treat any dissenting impaired Class of Claims or
 Interests in a manner that is materially less favorable than the treatment afforded to another Class with
 similar legal Claims against or Interests in the Debtor and (b) no Class receives payments in excess of
 that which it is legally entitled to receive for its Claims or Interests. The Debtor believes that the Plan
 does not discriminate unfairly as to any impaired Class of Claims or Interests.
         If any impaired Class of Claims entitled to vote on the Plan does not accept the Plan by the
 requisite majority provided in Section 1126(c) of the Bankruptcy Code, the Debtor reserves the right
 to amend the Plan or undertake to have the Bankruptcy Court confirm the Plan under Section 1129(b)
 of the Bankruptcy Code or both. With respect to impaired Classes of Claims or Equity Interests that
 are deemed to reject the Plan, the Debtor will request that the Bankruptcy Court confirm the Plan
 pursuant to Section 1129(b) of the Bankruptcy Code.

         3.       The Absolute Priority Rule and New Value to be Contributed.

         The leading decision on the absolute priority rule is Bank of America National Trust and Savings
 Association v. 203 North LaSalle Street Partnership, 526 U.S. 434, 442, 119 S.Ct. 1411, 1416, 143 L.Ed.2d
 607 (1999), in which the U.S. Supreme Court held that the debtor’s pre-bankruptcy equity holders
 could not, over the objection of a senior class of impaired creditors, contribute new capital to retain
 ownership interests in the new entity, when that opportunity was given exclusively to the old equity
 holders without consideration of alternatives or market valuation. Id. at 437, 119 S.Ct. at 1414.
         Since the North LaSalle decision, a number of federal courts have held that a plan of
 reorganization must:

         1. Allow for competing plans; and
         2.   Subject the opportunity to own the reorganized company to a “market place” test by
              allowing others to bid.

 Cf. In re Global Ocean Carriers Ltd., 251 B.R. 31 (Bankr. De. 2000); In re Situation Management Systems,
 Inc., 252 B.R. 859 (Bankr. Mass. 2000). In the present case, the exclusivity period for filing competing
 plans has passed. Thus, it is not necessary for the Debtor’s Plan to specify that competing plans are
 allowed.




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         Should the new value exception to the absolute priority rule apply this case, in order to comply
 with the “market place” test, the Debtor will advertise the opportunity to purchase the Debtor in at
 least two newspapers of general circulation in Alabama and at least two trade publications with
 circulation outside of Alabama.
         The sole LLC member’s offer of $1,000.00 as new value is based upon the following: the
 Debtor is currently insolvent, based on the liquidation analysis in the Disclosure Statement, should the
 Debtor liquidate, allowed secured creditors could expect a payout of approximately 14% of their allowed
 claims; no property or residual interests would remain following liquidation; and equity security
 holders would expect to receive no return from the liquidation. Further, the Debtor projects to remain
 insolvent until the completion of its 60-month payment plan in its the plan of reorganization. The
 Debtor does not expect to make any member distributions during this 5-year period. Thus, any
 purchaser of the Debtor’s equity secured interest bears the possibility that its security interest will have
 no value until five years after the Effective Date. While the Debtor proposes its plan of reorganization
 in good-faith and believes that it can successfully reorganize, there is substantial risk in any business
 investment for equity-security holders, especially for an insolvent company attempting to reorganize.
         Should parties other than the current owner desire to submit competing offers to purchase the
 Debtor company, those offers shall be submitted to the Court by or before a deadline to be established
 and noticed to all parties-in-interest to this case. The Court will then hold a hearing to determine the
 terms, conditions, and bidding procedures of an auction to purchase the Debtor company.


                                          ARTICLE 11
                                   RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order or the occurrence of the Effective Date,
 the Bankruptcy Court shall retain such jurisdiction over the Reorganization Case after the Effective
 Date as is legally permissible, including, without limitation, jurisdiction to:

         11.1    Allow, disallow, determine, liquidate, classify or establish the priority or secured or
 unsecured status of or estimate any Claim or Interest, including, without limitation, the resolution of
 any request for payment of any Administrative Claim or Indenture Trustee expenses and the resolution
 of any and all objections to the allowance or priority of Claims or Interests;

         11.2    Grant or deny any and all applications for allowance of compensation or
 reimbursement of expenses authorized pursuant to the Bankruptcy Code or the Plan, for periods ending
 on or before the Effective Date;



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         11.3    Resolve any motions pending on the Effective Date to assume, assign or reject any
 executory contract or unexpired lease to which the Debtor is a party or with respect to which the Debtor
 may be liable and to hear, determine and, if necessary, liquidate, any and all Claims arising there from;

         11.4    Ensure that distributions to holders of Allowed Claims and Allowed Interests are
 accomplished pursuant to the provisions of the Plan;

         11.5    Decide or resolve any and all applications, motions, adversary proceedings, contested
 or litigated matters and any other matters or grant or deny any applications involving the Debtor that
 may be pending on the Effective Date;

         11.6    Enter such Orders as may be necessary or appropriate to implement or       consummate
 the provisions of the Plan and all contracts, instruments, releases, and other agreements or documents
 created in connection with the Plan or the Disclosure Statement;

         11.7    Resolve any and all controversies, suits or issues that may arise in connection with the
 consummation, interpretation or enforcement of the Plan or any entity's obligations incurred in
 connection with the Plan, including the provisions of Article 9 hereof;

         11.8    Modify the Plan before or after the Effective Date pursuant to Section 1127 of the
 Bankruptcy Code, or to modify the Disclosure Statement or any contract, instrument, release, or other
 agreement or document created in connection with the Plan or the Disclosure Statement; or remedy
 any defect or omission or reconcile any inconsistency in any Bankruptcy Court Order, the Plan, the
 Disclosure Statement or any contract, instrument, release, or other agreement or document created in
 connection with the Plan or the Disclosure Statement, in such manner as may be necessary or
 appropriate to consummate the Plan, to the extent authorized by the Bankruptcy Code;

         11.9    Issue injunctions, enter and implement other orders or take such other actions as may
 be necessary or appropriate to restrain interference by any entity with consummation or enforcement
 of the Plan;

         11.10   Enter and implement such orders as are necessary or appropriate if the Confirmation
 Order is for any reason modified, stayed, reversed, revoked or vacated;

         11.11   Determine any other matters that may arise in connection with or relate to the Plan,
 the Disclosure Statement, the Confirmation Order or any contract, instrument, release, or other
 agreement or document created in connection with the Plan or the Disclosure Statement; and




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           11.12   Enter an order concluding the Reorganization Case.

           If the Bankruptcy Court abstains from exercising jurisdiction or is otherwise without
 jurisdiction over any matter arising out of the Reorganization Case, including, without limitation, the
 matters set forth in this Article, this Article shall have no effect upon and shall not control, prohibit, or
 limit the exercise of jurisdiction by any other court having competent jurisdiction with respect to such
 matter.


                                         ARTICLE 12
                                  MISCELLANEOUS PROVISIONS

           12.1    Fractional Dollars. Any other provision of the Plan notwithstanding, no payments of
 fractions of dollars will be made to any holder of an Allowed Claim. Whenever any payment of a fraction
 of a dollar to any holder of an Allowed Claim would otherwise be called for, the actual payment made
 will reflect a rounding of such fraction to the nearest whole dollar (up or down).

           12.2    Modification of Plan. The Debtor reserves the right, in accordance with the Bankruptcy
 Code, to amend or modify the Plan prior to the entry of the Confirmation Order. After the entry of the
 Confirmation Order, the Debtor may, upon order of the Bankruptcy Court, amend or modify the Plan
 in accordance with Section 1127(b) of the Bankruptcy Code, or remedy any defect or omission or
 reconcile any inconsistency in the Plan in such manner as may be necessary to carry out the purpose
 and intent of the Plan.

           12.3    Withdrawal of Plan. The Debtor reserves the right, at any time prior to entry of the
 Confirmation Order, to revoke or withdraw the Plan. If the Debtor revokes or withdraws the Plan under
 this Section 12.3 or if the Effective Date does not occur, then the Plan shall be deemed null and void.
 In that event, nothing contained in the Plan shall be deemed to constitute a waiver or release of any
 Claims by or against the Debtor or any other person, or to prejudice in any manner the rights of the
 Debtor or any other person in any further proceedings involving the Debtor.

           12.4    Governing Law. Except to the extent the Bankruptcy Code or the Bankruptcy Rules are
 applicable, the rights and obligations arising under the Plan shall be governed by, and construed and
 enforced in accordance with the laws of the State of Alabama, without giving effect to the principles of
 conflicts of law thereof.

           12.5    Time. In computing any period of time prescribed or allowed by this Plan, the day of
 the act, event, or default from which the designated period of time begins to run shall not be included.



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 The last day of the period so computed shall be included, unless it is not a Business Day or, when the
 act to be done is the filing of a paper in court, a day on which weather or other conditions have made
 the clerk's office inaccessible, in which event the period runs until the end of the next day which is not
 one of the aforementioned days. When the period of time prescribed or allowed is less than eight days,
 intermediate days that are not Business Days shall be excluded in the computation.

         12.6    Payment Dates. Whenever any payment to be made under the Plan is due on a day other
 than a Business Day, such payment will instead be made, without interest, on the next Business Day.

         12.7    Headings. The headings used in this Plan are inserted for convenience only and do not
 constitute a portion of the Plan or in any manner affect the provisions of the Plan.

         12.8    Successors and Assigns. The rights, benefits and obligations of any entity named or
 referred to in the Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
 administrator, successor or assign of such entity.

         12.9    Severability of Plan Provisions. If prior to Confirmation any term or provision of the
 Plan, which does not govern the treatment of Claims or Interests or the conditions of the Effective
 Date, is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall
 have the power to alter and interpret such term or provision to make it valid or enforceable to the
 maximum extent practicable, consistent with the original purpose of the term or provision held to be
 invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
 interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of the terms
 and provisions of the Plan will remain in full force and effect and will in no way be affected, impaired,
 or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a
 judicial determination and shall provide that each term and provision of the Plan, as it may have been
 altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to its terms.

         12.10   No Admissions. Notwithstanding anything herein to the contrary, nothing contained
 in the Plan shall be deemed as an admission by the Debtor with respect to any matter set forth herein,
 including, without limitation, liability on any Claim or the propriety of any Claims classification.




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        12.11   Notices. Notices to be provided under this Plan must be transmitted in writing to the
 Debtor at both addresses that follow:

        Madison Chiropractic and Nutrition Center, LLC
        c/o Its Attorneys
        SPARKMAN, SHEPARD & MORRIS, P.C.
        P.O. Box 19045
        Huntsville, AL 35804

                and

        Madison Chiropractic and Nutrition Center, LLC
        P.O. Box 21157
        Huntsville, AL 35813




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        Respectfully submitted this the 27th day of February, 2019.


                                                MADISON CHIROPRACTIC &
                                                NUTRITION CENTER, LLC



                                                /s/ Dr. Gregory B. Millar
                                                Dr. Gregory B. Millar, Managing Member


                                                /s/ Tazewell T. Shepard III
                                                Tazewell T. Shepard III
                                                Tazewell T. Shepard IV
                                                Attorneys for the Debtor

                                                SPARKMAN, SHEPARD & MORRIS, P.C.
                                                P. O. Box 19045
                                                Huntsville, AL 35804
                                                Tel: (256) 512-9924
                                                Fax: (256) 512-9837



                                   CERTIFICATE OF SERVICE

        This is to certify that this the 27th day of February, 2019, I have this day served the foregoing
 motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and Richard
 Blythe, Office of the Bankruptcy Administrator, by electronic service through the Court’s CM/ECF
 system and/or by placing a copy of same in the United States Mail, postage pre-paid.


                                                /s/ Tazewell T. Shepard IV
                                                Tazewell T. Shepard IV




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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 In re: Madison Chiropractic & Nutrition          )           Case No.: 18-82075-CRJ-11
        Center, LLC                               )
        EIN: xx-xxx0856                           )
                                                  )
                 Debtor.                          )           CHAPTER 11
                                                  )

                      BALLOT FOR ACCEPTING OR REJECTING PLAN

                 Filed By                                                         .

         THE    PLAN REFERRED TO IN THIS BALLOT CAN BE CONFIRMED BY THE            COURT AND
 THEREBY MADE BINDING ON YOU IF IT IS ACCEPTED BY THE HOLDERS OF                 TWO-THIRDS IN
 AMOUNT AND MORE THAT ONE-HALF IN NUMBER OF CLAIMS IN EACH CLASS AND THE HOLDERS
 OF TWO-THIRDS IN AMOUNT OF EQUITY SECURITY INTERESTS IN EACH CLASS VOTING ON THE
 PLAN.   IN   THE EVENT THE REQUISITE ACCEPTANCES ARE NOT OBTAINED, THE               COURT   MAY
 NEVERTHELESS CONFIRM THE PLAN IF THE         COURT FINDS THAT THE PLAN ACCORDS FAIR AND
 EQUITABLE TREATMENT TO THE CLASS OR CLASSES REJECTING IT AND OTHERWISE SATISFIES
 THE REQUIREMENTS OF        § 1129(B)   OF THE   CODE. TO   HAVE YOUR VOTE COUNT YOU MUST
 COMPLETE AND RETURN THIS BALLOT.




                               [If holder of scheduled or filed claim]

         The undersigned, as a creditor of the above-named debtor in the unpaid principal amount
 of $                  with filed proof of claim #____________.




                                     [If equity security holder]

         The undersigned, the holder of [state number]                    shares of [ describe
 type]                                          stock of the above named debtor, represented by
 Certificate(s) No.            [or held in my/our brokerage Account No.                  at
 [name of broker-dealer]                                       .




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                                     [Check One Box]



         Accepts the Plan of Reorganization

        Rejects the Plan of Reorganization




                                   Dated:

                                   Print or type name:

                                   Signed:

                                   [if appropriate] By:

                                   as:



           IN ORDER TO BE COUNTED, BALLOTS MUST BE SIGNED AND
 RETURNED SO THAT THEY ARE RECEIVED BY THE U.S. BANKRUPTCY COURT NO
 LATER THAN 4:30 P.M. CENTRAL STANDARD TIME ON THE DATE SET BY THE
 COURT (THE "VOTING DEADLINE”), TO:

       Clerk’s Office
       U.S. Bankruptcy Court
       400 Well Street, NE # 222
       Decatur, AL 35601-1951




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